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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:
                                                              CHAPTER 11
RICHARD J. REYNOLDS, IV,
                                                              CASE NO. 17-52365-bem
              Debtor.

     APPLICATION REQUESTING ENTRY OF ORDER CONDITIONALLY APPROVING
   DISCLOSURE STATEMENT, SCHEDULING HEARING, AND ESTABLISHING CERTAIN
                               DEADLINES

         COMES NOW, Richard J. Reynolds, IV (“Debtor”), by and through the undersigned

counsel, and hereby files this “Application Requesting Entry of Order Conditionally Approving

Disclosure Statement, Scheduling Hearing, and Establishing Certain Deadlines” (the

“Application”), in which Debtor respectfully requests an order (1) conditionally approving its

Disclosure Statement and scheduling a hearing to consider final approval thereof, Plan

confirmation hearing and collateral valuation hearing pursuant to 11 U.S.C. Sec. 506(a); (2)

approving the form and content of Debtor’s ballot; (3) establishing a deadline for filing objections

to the Disclosure Statement and Plan of Reorganization; (4) establishing a deadline for casting

ballots to accept or reject Plan of Reorganization; and (5) to the extent necessary, extending the

deadline for confirming Debtor’s proposed Plan of Reorganization. In support of the Application,

Debtor respectfully shows the Court as follows:

                                             Jurisdiction

         1.       This Court has jurisdiction over this Application pursuant to 28 U.S.C. §1334.

The subject matter of this Application constitutes a core proceeding within the meaning of 28

U.S.C. §157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory

basis for the relief requested is 11 U.S.C. §§ 1125, 506(a), and 105 and Rules 3017.1 and 3012

of the Federal Rules of Bankruptcy Procedure (“Rule(s)”).

         2.       On February 6, 2017 (“Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 13 of Title 11 of the United States Code, 11 U.S.C. §§101 et seq. (“Bankruptcy
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Code”), in the United States Bankruptcy Court for the Northern District of Georgia, Atlanta

Division (“Court”).

       3.        On July 27, 2017, the Court entered an Order for Relief (Doc. No. 59) converting

this Case to under Chapter 11 of the Bankruptcy Code.

       4.        Debtor continues to operate his business and manage his affairs as a debtor in

possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

       5.        On February 13, 2018, Debtor filed the following: (a) Plan of Reorganization

(“Plan”); and (b) Disclosure Statement for Plan of Reorganization (“Disclosure Statement”).

                                         Relief Requested

       6.        By this Application, Debtor requests entry of an order: (a) conditionally approving

the Disclosure Statement and setting a hearing on final approval of the Disclosure Statement to

be held, if a timely objection is filed, at the same time as a hearing to consider confirmation of

the Plan, and on Plan confirmation and valuation of collateral in accordance with Rule 3012 and

11 U.S.C. §506(a); (b) approving the form and content of ballots; (c) establishing a deadline for

objecting to the Disclosure Statement and Plan; (d) establishing a deadline for casting ballots to

accept or reject the Plan; and (e) to the extent necessary, extending the deadline to confirm

Debtor’s Plan.

       7.        Section 1125(f) of the Bankruptcy Code provides, in pertinent part, as follows:

                        …in a small business case
                                …
                        (3)(A)    the court may conditionally approve a disclosure
                        statement subject to final approval after notice and a
                        hearing;
                        (B) acceptances and rejections of a plan may be solicited based
                        on a conditionally approved disclosure statement if the debtor
                        provides adequate information to each holder of a claim or interest
                        that is solicited, but conditionally approved disclosure statement
                        shall be mailed not later than 25 days before the date of the
                        hearing on confirmation of the plan; and
                        (C) the hearing on the disclosure statement may be
                                combined with the hearing on confirmation of a plan.



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       8.      Rule 3017.1(a) provides as follows:

                      (a) Conditional Approval of Disclosure Statement. In a small
               business case, the court may, on application of the plan proponent or on
               its own initiative, conditionally approve a disclosure statement filed in
               accordance with Rule 3016. On or before conditional approval of the
               disclosure statement, the court shall:
                      (1) fix a time within which the holders of claim and interest may
                      accept or reject the plan;
                      (2) fix a time for filing objections to the disclosure statement;
                      (3) fix a date for the hearing on final approval of the disclosure
                      statement to be held if a timely objection is filed; and
                      (4) fix a date for the hearing on confirmation.

       9.      Debtor’s aggregate noncontingent liquidated secured and unsecured debt is not

more than $2,566,050.00. The Disclosure Statement and Plan were filed in accordance with

Rule 3016.

       10.     The Bankruptcy Code authorizes the Court to order that the hearing on the

approval of the disclosure statement be combined with the hearing on confirmation of the plan

at a status conference regardless of whether the case is a small business case. See 11 U.S.C.

§ 105(d). Additionally, Section 105(a) of the Bankruptcy Code further provides that “the court

may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a).

       11.     In accordance with Rule 3017.1 and 11 U.S.C. §§ 105(a) and (d), Debtor

requests that the Court waive any requirement for a status conference regarding the relief

requested in this Application as creditors and parties in interest will be provided an opportunity

to raise any objections to the Disclosure Statement at the hearing to consider final approval of

the Disclosure Statement if objections are timely filed, and enter an order conditionally

approving the Disclosure Statement, establishing a deadline for filing objections to the

Disclosure Statement and Plan, and scheduling a final hearing on the Disclosure Statement, in

the event timely objections are filed, to be consolidated with the hearing to consider confirmation

of the Plan.



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       12.     Section 1129(e) of the Bankruptcy Code requires confirmation of a small

business case within 45 days after the filing of a plan and provides as follows:

               In a small business case, the court shall confirm a plan that complies with
               the applicable provisions of this title and that is filed in accordance with
               Section 1121(e) not later than 45 days after the plan is filed unless the
               time for confirmation is extended in accordance with Section 1121(e)(3).

       13.     Section 1121(e)(3) of the Bankruptcy Code allows an extension of time if:

               (A) the debtor, after providing notice to parties in interest (including the
               United States trustee), demonstrates by a preponderance of the evidence
               that it is more likely than not that the court will confirm a plan within a
               reasonable amount of time;
               (B) a new deadline is imposed at the time the extension is granted; and
               (C) the order extending the time is signed before the existing deadline
               has expired.

       14.     To the extent confirmation of the Plan cannot and/or does not occur within forty-

five (45) days (“Confirmation Deadline”) after the filing of the Plan, Debtor requests that the

Confirmation Deadline be extended through and including June 18, 2018.

       15.     Debtor shows that extending the deadline is appropriate. The Plan and

Disclosure Statement comply with the Bankruptcy Code. This request is made prior to expiration

of the forty-five (45) day period. Unforeseen issues may arise delaying the confirmation process

and the Court’s calendar may be full. Thus, extending the deadline for obtaining confirmation of

a plan alleviates any issues that may arise if the confirmation hearing cannot be scheduled

and/or is continued beyond the initial forty-five (45) day period.

       16.     Debtor further requests that the Court approve the form and content of the Ballot

attached hereto and incorporated herein as Exhibit “A”. Ballots will be provided to creditors and

parties in interest entitled to vote along with the Disclosure Statement and Plan.

       17.     An order granting this Application and the relief requested herein will be

submitted contemporaneously herewith.




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          WHEREFORE, Debtor requests that the Court enter an order granting the Application

and the relief requested herein and such other and further relief as may be deemed just and

proper.

          Respectfully submitted this 13th day of February, 2018.

                                               JONES & WALDEN, LLC
                                               /s/ Leslie M. Pineyro
                                               Leslie M. Pineyro
                                               Georgia Bar No. 969800
                                               21 Eighth Street, NE
                                               Atlanta, Georgia 30309
                                               (404) 564-9300 Telephone
                                               lpineyro@joneswalden.com
                                               Attorney for Debtor




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                              EXHIBIT “A” FOLLOWS
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                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:
                                                           CHAPTER 11
RICHARD J. REYNOLDS, IV,
                                                           CASE NO. 17-52365-bem
         Debtor.

               BALLOT FOR ACCEPTING OR REJECTING DEBTOR’S PLAN

        On February 13, 2018, Debtor filed its Chapter 11 Plan of Reorganization (the “Plan”),
Disclosure Statement for Plan of Reorganization (“Disclosure Statement”), and an Application
Requesting Entry of Order Conditionally Approving Disclosure Statement (the “Application”).
The Court has conditionally approved the Disclosure Statement. The Disclosure Statement
provides information to assist you in deciding how to vote your ballot. If you do not have a
Disclosure Statement, you may obtain a copy from Jones & Walden, LLC, 21 Eighth Street, NE,
Atlanta, Georgia 30309, 404-564-9300 (telephone), 404-564-9301 (facsimile). The Disclosure
Statement and Plan are available for review in the Office of the Clerk, U.S. Bankruptcy Court, 75
Ted Turner Drive, SW, Atlanta, GA 30303 during normal business hours or online at
http://ecf.ganb.uscourts.gov (registered users) or at http://pacer.psc.uscourts.gov (unregistered
users).

       You should review the Disclosure Statement and the Plan before you vote. You
may wish to seek legal advice concerning the Plan and your classification and treatment
under the Plan. If you hold claims or equity interests in more than one class, you may
receive a ballot for each class in which you are entitled to vote and you may use a copy
of the ballot or request an additional ballot if you do not receive one.

       If your ballot is not received by the Office of the Clerk, U.S. Bankruptcy Court, 75
Ted Turner Drive, SW, Atlanta, GA 30303 on or before March 16, 2018 and such deadline is
not extended, your vote will not count as either an acceptance or rejection of the Plan.

       If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether
or not you vote.
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                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:
                                                           CHAPTER 11
RICHARD J. REYNOLDS, IV,
                                                           CASE NO. 17-52365-bem
         Debtor.

                         BALLOT FOR ACCEPTING OR REJECTING
                          DEBTORS’ PLAN OF REORGANIZATION
       The Plan referred to in this ballot can be confirmed and thereby made binding on you if it
is accepted by the holders of two-thirds in amount and more than one-half in number of claims
in each Class. If the required acceptances are not obtained, the Plan may nevertheless be
confirmed if the Court finds that the plan accords fair and equitable treatment to the Class or
Classes rejecting it and otherwise satisfies the requirements of Section 1129(b) of the Code.
     TO HAVE YOUR VOTE COUNT, YOU MUST COMPLETE AND RETURN THIS
BALLOT ON OR BEFORE March 16, 2018 TO:
                                    Clerk, U.S. Bankruptcy Court
                                      75 Ted Turner Drive, SW
                                         Atlanta, GA 30303
You must also deliver a copy of the completed, signed ballot to Debtor’s Attorney at: Jones &
Walden LLC, 21 Eighth Street, NE, Atlanta, Georgia 30309, Attn: Leslie M. Pineyro.
The undersigned is a holder of [check one:]
      ___ a secured claim
      ___ an unsecured claim
      ___ other [specify:__________________________________________]

In the amount of $_________________, in Class ______ and hereby:
                             ______ Accepts         ______ Rejects
                               Debtor’s Plan of Reorganization

Date:____________________

Creditor:____________________________              Address:________________________
       Print or Type Name                                _________________________
Signed:_____________________________               Phone Number:________________________

Title:______________________________




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                                 CERTIFICATE OF SERVICE

        I certify that on the date specified herein below I cause to be served a copy of the
foregoing documents via first class United States mail in a properly addressed envelope with
sufficient postage affixed thereto to ensure delivery upon the parties listed below:

       Office of the United States Trustee
       362 Richard B. Russell Federal Building
       75 Ted Turner Drive, SW
       Atlanta, Georgia 30303

       This 13th day of February, 2018.


                                           JONES & WALDEN, LLC
                                           /s/ Leslie M. Pineyro
                                           Leslie M. Pineyro
                                           Georgia Bar No. 969800
                                           21 Eighth Street, NE
                                           Atlanta, Georgia 30309
                                           (404) 564-9300 Telephone
                                           (404) 564-9301 Facsimile
                                           lpineyro@joneswalden.com
                                           Attorneys for Debtor in Possession




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